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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 CHRISTIAAN H.HIGHSMITH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:14-CR-00238-GEB
12                                 Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           [PROPOSED] FINDINGS AND ORDER
14   ISIDRO ALCAZAR-TAPIA, and                           DATE: December 19, 2014
     ARTURO ALCAZAR-TAPIA,                               TIME: 9:00 a.m.
15                                                       COURT: Hon. Garland E. Burrell, Jr.
                                  Defendants.
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17
                                                 STIPULATION
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            1.      By previous order, this matter was set for status on December 19, 2014.
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            2.      By this stipulation, the parties now move to continue the status conference until January
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     16, 2014, for a change of Plea and to exclude time between December 19, 2014, and January 16, 2015,
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     under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)      The government and defense counsel have completed negotiations.
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                    b)      Counsel for defendants desire additional time to review the Plea offer, and to
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            discuss potential resolutions with their clients. After due diligence, the defense needs additional
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            time to review the restitution being sought by the Government which recently produced.
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                    c)      Counsel for defendants believe that failure to grant the above-requested
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            continuance would deny counsel the reasonable time necessary for effective preparation, taking

      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       1
      FINDINGS AND ORDER
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 1          into account the exercise of due diligence.

 2                  d)      The government does not object to the continuance.

 3                  e)      Based on the above-stated findings, the ends of justice served by continuing the

 4          case as requested outweigh the interest of the public and the defendant in a trial within the

 5          original date prescribed by the Speedy Trial Act.

 6                  f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 7          et seq., within which trial must commence, the time period of December 19, 2014 to January 16,

 8          2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
 9          T4] because it results from a continuance granted by the Court at defendants’ request on the basis
10          of the Court’s finding that the ends of justice served by taking such action outweigh the best
11          interest of the public and the defendant in a speedy trial.
12          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

13 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

14 must commence.

15          IT IS SO STIPULATED.

16
     Dated: December 15, 2014                                 BENJAMIN B. WAGNER
17                                                            United States Attorney
18                                                            /s/ CHRISTIAAN H.HIGHSMITH
                                                              CHRISTIAAN H.HIGHSMITH
19                                                            Assistant United States Attorney
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       STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       2
       FINDINGS AND ORDER
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 1
 2 Dated: December 15, 2014                              /s/ George Paul Trejo
                                                         George Paul Trejo
 3                                                       Counsel for Defendant
 4                                                       Isidro Alcazar-Tapia

 5
     Dated: December 15, 2014                            /s/ Julian Elizabeth Trejo
 6                                                       Julian Elizabeth Trejo
                                                         Counsel for Defendant
 7                                                       Arturo Alcazar-Tapia
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 9
10                                 [PROPOSED] FINDINGS AND ORDER
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12         IT IS SO FOUND AND ORDERED.
13 Dated: December 18, 2014

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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]   3
      FINDINGS AND ORDER
